                   IN THE UNITED STATES DISTRICT COURT
                   EASTERN DISTRICT OF NORTH CAROLINA
                             WESTERN DIVISION

JASON WILLIAMS,

      Plaintiff,

vs.                                      Case No. 5:19-cv-00475-BO
AT&T MOBILITY LLC,

      Defendant.



MEMORANDUM IN SUPPORT OF AT&T MOBILITY LLC’S MOTION TO COMPEL
 PLAINTIFF JASON WILLIAMS TO PRODUCE DOCUMENTS AND RESPOND TO
                        INTERROGATORIES




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                                         I. Introduction

       Plaintiff Jason Williams alleges that unauthorized SIM swaps on his AT&T account

“destroyed” his cryptocurrency mining business, exposed his sensitive information, and caused

him over $2,000,000 in damages that he seeks to recover from Defendant AT&T Mobility LLC.

Doc. 2 (“Compl.”) ¶ 20. But after nine months of discovery Mr. Williams still will not provide

documents to substantiate his claims, has turned over only 76 pages of materials, and has failed

to provide documents responsive to a multitude of AT&T’s requests while admitting his counsel

has conducted no independent review of his files. He likewise refuses to provide an interrogatory

response identifying AT&T’s allegedly false statements underlying his claims, on the grounds

that he has no obligation to do so because the Court denied AT&T’s motion to dismiss.

       Plaintiff may not burden the Court with a purported multi-million dollar lawsuit and then

shirk his responsibility to participate meaningfully in discovery. His persistent apathy towards

his discovery obligations has necessitated this motion and should be corrected. Specifically,

AT&T requests that the Court compel Mr. Williams to:

       (i)     produce documents responsive to AT&T’s First RFPs Nos. 1-10, 12-17, 19-23,
               26-27 and 29-31, and Second RFPs Nos. 3-5 and 8-11; and

       (ii)    provide a complete response to AT&T’s Interrogatory No. 11.

If Mr. Williams fails or refuses to do so, the Court should impose an estoppel or adverse

inference under Rule 37 that the un-produced information is unfavorable to Mr. Williams and

contains evidence contradicting his allegations against AT&T.

                                    II. Factual Background

   A. Mr. Williams’ deficient document production.

       AT&T served its first document requests on May 22, 2020. See Ex. A to Mar. 12, 2021

Declaration of Michael Breslin (“Breslin Decl.”) attached as Exhibit 1 to the Motion. In his July



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6, 2020 responses, Mr. Williams agreed to produce documents responsive to all of those requests

(Nos. 1-10, 12-17, 19-23, 26-27 and 29-31) that are the subject of this motion. Breslin Decl., Ex.

C at 4-25.1 That has not happened.

       Mr. Williams also agreed on February 8, 2021, to produce documents responsive to all of

AT&T’s Second Document Requests (Nos. 3-5, 8-11) that are the subject of this motion. Id. at

Ex. L. That also has not happened.

       Instead, Mr. Williams — who is not an attorney — has produced only 75 pages of

materials (Breslin Decl. ¶¶ 8, 11, 20) that he selectively chose to turn over to his counsel, with no

independent search by his counsel of the documents available to him.2 These 75 pages consist

almost entirely of (1) frequently blurry, often undated photographs of a cell phone showing

portions of text messages or emails, or (2) copies of cherry-picked, selected portions of what

appear to be longer email chains. Regarding the requests at issue, the 75 pages:

       (i)     are only partially responsive to AT&T’s First Requests Nos. 1, 3, 5, 6, 7, 12, 13,
               16, 17, 19, 22, 26, 30 and 31, and AT&T’s Second Requests No. 3; and

       (ii)    are not responsive to AT&T’s First Document Requests Nos. 2, 4, 8, 9, 10, 14, 15,
               20, 21, 23, 27, or 29, or AT&T’s Second Document Requests Nos. 4-5 or 8-11.

Id. at ¶¶ 11, 20. The missing categories of materials are too numerous to list here, but include

things as fundamental as documents establishing: AT&T’s allegedly false representations (1st

RFPs No. 2); AT&T’s statements regarding the SIM swap incidents (No. 4), the security

warnings and settings on Mr. Williams’ accounts that were breached (Nos. 7-8); the market value

of the cryptocurrency equipment AT&T allegedly rendered worthless (No. 23); and even the


1
  His responses did not initially agree to do so for Request No. 15, but Mr. Williams later agreed
to produce documents responsive to a narrowed version of that request during an August 31,
2020 meet and confer conference. Breslin Decl., Ex. G.
2
  See Doc. 58-9 at 26 (documenting Mr. Williams counsels’ statement during Nov. 4, 2020 meet
and confer conference that they had done no independent search of Mr. Williams’ records);
Breslin Decl. ¶ 19(c) & Ex. M (confirming that was still the case as of Feb. 24, 2021).


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existence or nature of Mr. Williams’ purported “business” and “intellectual property”

information allegedly exposed to hackers (2nd RFPs No. 10). Compl. ¶¶ 44, 83.

       Mr. Williams contends he cannot produce more complete records because he is unable to

access several of his third party accounts, such as Slush Pool and Gmail/Google, where he

apparently stored the majority of records relevant to this dispute. Breslin Decl., ¶ 19, Ex. M (J.

Gallo Feb. 16, 2021 email at ¶ 4). Mr. Williams, however, has relied on this excuse since

November 4, 2020. Doc. 58-9 at 26, ¶ 2.

       On November 12, 2020 — after AT&T learned Mr. Williams had self-produced only a

handful of documents and claimed he could not access several categories of relevant materials —

AT&T requested a limited deposition of Mr. Williams to determine his efforts to access

responsive materials and where they might be located. Mr. Williams’ counsel rejected the

request as “ridiculous.” Doc. 58-9 at 19-21.

       Between November 17 and 24, 2020, AT&T sought Mr. Williams’ cooperation in

subpoenaing the responsive materials from his third-party accounts. Doc. 58-9 at 15-16.3 Mr.

Williams’ counsel again summarily rejected the proposal, stating that they could not respond to

“hypothetical subpoenas.” Id. at 15.

       On December 11, 2020, AT&T sent Mr. Williams’ counsel a proposed subpoena to

Gmail/Google. Id at 12-13. On December 18, 2020, Mr. Williams’ counsel responded that there

was “no need” for AT&T to issue any subpoena because Mr. Williams would subpoena Google

directly. Id. at 10. By that time, nearly seven months had passed since Mr. Williams received




3
 The Federal Stored Communications Act, 18 U.S.C. § 2701 et seq., prevents AT&T itself from
subpoenaing Mr. Williams’ email communications from Gmail, unless Mr. Williams provides
Gmail with authorization to release his records. 18 U.S.C. § 2702(b)(3).


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AT&T’s document requests, during which time Mr. Williams apparently made no effort to

obtain his own records from these online accounts.

       AT&T accepted Mr. Williams’ representation that he would issue the Google subpoena.

On December 30, 2020, AT&T requested that Mr. Williams’ counsel provide a copy of the

subpoena when it was issued. Doc. 58-9 at 8-9. Mr. Williams’ counsel did not respond to that

request, and has not provided AT&T with any evidence of efforts to access the Google materials

despite AT&T’s requests for same on February 12, February 23, and March 4, 2021. Doc. 58-9

at 4; Breslin Decl., Ex. M. As of the date of this Motion, AT&T does not know what efforts, if

any, Mr. Williams has made to access these materials. Mr. Williams’ counsel has only stated

they will update AT&T “if” and “when” Mr. Williams gains access to these materials. Breslin

Decl., Ex. M (J. Gallo Feb. 16, 2021 email).

       And Mr. Williams’ claims of inaccessibility appear to have shifted over time. For

example, on February 16, 2021, his counsel wrote that Mr. Williams had produced all evidence

of his damages that he had located, but additional evidence may be in a Gmail account Mr.

Williams cannot access. Id. But weeks later on March 10, 2021, Mr. Williams finally produced a

contract purportedly setting out the basis for his mining expenses — a document AT&T

requested in May 2020 only to later receive stiff-arm responses that such documents were

inaccessible.

   B. Mr. Williams’ refusal to answer Interrogatory No. 11.

       AT&T’s Interrogatory 11 requests the specific false representations Mr. Williams alleges

in support of his claims. Breslin Decl., Ex. D at 13. On July 6, 2020, Mr. Williams objected and

refused to answer, stating the responsive information “is set forth in the [236-paragraph]

Complaint.” Id.




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       The responsive information, however, is not clearly set forth in the Complaint. For

example, paragraph 50 appears to suggest that AT&T lied about having “robust security,” but it

is unclear if Mr. Williams is alleging that was an actual false representation he received (much

less who made it, when, and in what context). Paragraphs 154 and 161 are other examples. They

quote language from an AT&T privacy policy that is allegedly Exhibit A to the Complaint and

assert the quoted language “is false and misleading,” but the quoted language appears nowhere in

Exhibit A to the Complaint.

       AT&T sent an August 4, 2020 deficiency letter addressing this response. Breslin Decl.,

Ex. E. at 3. On August 21, 2020, Mr. Williams’ counsel responded by insisting that the

Complaint’s allegations “speak for themselves” and because the Court denied AT&T’s motion to

dismiss Mr. Williams was under no obligation to restate the allegedly false statements in an

interrogatory response. Id. at Ex. F, p. 2-3. The parties held a further meet and confer call on this

issue on August 31, 2020. Id. at ¶ 10, Ex. G. Counsel for AT&T memorialized the call in an

email, noting that Mr. Williams’ counsel had again agreed to consider supplementing

Interrogatory No. 11. Id.

       On September 28, 2020, Mr. Williams served his First Supplemental Interrogatory

Responses, again refusing to answer Interrogatory No. 11 and claiming he was under no

obligation to do so because the Court found the complaint satisfied Rule 9(b). Breslin Decl., Ex.

H at 4-5. The supplemental responses directed AT&T to a broad swath of 24 paragraphs (¶¶ 152-

174) of the Complaint, id., which include allegations “on information and belief” and are replete

with claims of AT&T’s generalized “failures” but often without any corresponding allegation of

what AT&T actually represented it would do. Compl. ¶¶ 155, 159-160, 169 (alleging vague




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failures to “put in place adequate systems and procedures,” or establish some unspecified

“consent mechanism,” or to “use other security measures”).

       On November 4, 2020, AT&T and Mr. Williams’ counsel held another telephonic

conference to discuss this and other issues. Breslin Decl. ¶ 15. On that call, Mr. Williams’

counsel (again) agreed to consider revising Mr. Williams’ Response to Interrogatory No. 11

[Doc. 58-9 at 26 ¶ 1,] but the next day changed course and stated it “would be premature” for

Mr. Williams to identify AT&T’s misrepresentations until Mr. Williams received additional

discovery from AT&T. Id. at 25.

                                           III. Argument

   A. Mr. Williams is disregarding his discovery obligations and has failed produce
      responsive documents.

       AT&T is entitled to relevant, proportional discovery from Mr. Williams. Fed. R. Civ. P.

26(b) & 34 (setting standards)). Mr. Williams alleges he suffered generally unspecified damages

over $2,000,000 as a result of the SIM swaps. See, e.g., Compl. ¶¶ 9, 20, 32, 90, 137 (lacking

specificity as to the calculation of damages or how/why the SIM swaps prevented him from

continuing his cryptocurrency mining business). Unsurprisingly, AT&T’s document requests

seek information concerning, inter alia:

       (i)     Mr. Williams’ claimed damages;

       (ii)    Mr. Williams’ communications with AT&T or others regarding the alleged
               unauthorized SIM swaps;

       (iii)   account security for his email, social media, banking, and cryptocurrency
               accounts that were allegedly hacked; and

       (iv)    how the SIM swaps or AT&T’s actions caused his alleged damages.




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Mr. Williams is the only party with “access to [this] relevant information,” Fed. R. Civ. P.

26(b)(1), but he won’t provide it — he has produced fewer than 100 pages which are only

partially, or often not at all, responsive to the majority of AT&T’s document requests.

       Mr. Williams cannot evade his document production obligations merely because he finds

them inconvenient. The Court should require him to develop a legitimate collection and search

protocol, managed by counsel if necessary, and to produce all responsive documents he

possesses. See Casale v. Kelly, 710 F. Supp. 2d 347, 365 (S.D.N.Y. 2010) (“Responsibility for

adherence to the duty to preserve lies not only with the parties but also, to a significant extent,

with their counsel.”).

       Nor can Mr. Williams evade discovery by hiding behind third parties when he — and he

alone — controls access to the electronically stored information (“ESI”) they have. See Wan

Wang Case v. Case, No. 5:20-CV-42-BO, 2020 WL7061388 at *4 (E.D.N.C. Dec. 2, 2020)

(“Documents are deemed to be within the possession, custody, or control of a party if the party

has . . . the legal right to obtain the documents on demand”). Without undue burden, Mr.

Williams can obtain this information — by subpoena or informal requests — from third party

sources such as Apple (for iPhone and/or iCloud backup files), Google (email records), Yahoo

(email records), Slush Pool (cryptocurrency mining records), Dropbox (cloud storage records),

Morgan Creek Capital (email records), FastMed (email records), and PRTI (email records).

       By contrast, AT&T cannot subpoena Mr. Williams’ records from any “electronic

communication service” due to privacy protections afforded by the Stored Communications Act,

18 U.S.C. § 2701 et seq.




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       AT&T needs the requested information to conduct its defense. Mr. Williams has had

more than eight months to provide the information, and is unwilling to do so. The Court should

compel Mr. Williams to produce the ESI responsive to AT&T’s document requests.

   B. If Mr. Williams will not produce his records, the Court should impose an estoppel
      sanction and an adverse inference regarding the undisclosed information.

       AT&T has made every effort to present common-sense solutions to Mr. Williams’

inability to collect records, but Mr. Williams has ignored AT&T’s requests for evidence of the

steps he has taken to obtain these records. The Federal Rules prescribe consequences for such

prejudicial discovery misconduct.

       First, a party who fails to provide responsive information cannot use that information to

support his case, and the Court may also impose a sanction under Rule 37(b)(2)(A). Fed. R. Civ.

P. 37(c)(1). And where the failure to produce documents was not either substantially justified or

harmless, Rule 37 operates as an “automatic sanction.” S. States Rack & Fixture, Inc. v.

Sherwin–Williams, Co., 318 F.3d 592, 595 n. 2 (4th Cir. 2003). Those sanctions include directing

that designated facts be taken as established for purposes of the action and prohibiting a

disobedient party from supporting or opposing designated claims or defenses, or from

introducing designated matters in evidence. Fed. R. Civ. P. 37(b)(2)(A)(i) & (ii).

       These sanctions are appropriate for Mr. Williams’ failure to collect and produce

responsive information. The Court should preclude Mr. Williams from introducing evidence

concerning the matters for which he is not providing compliant discovery and should direct that

Mr. Williams has not proven his related allegations for purposes of this action. A chart of the

inference or estoppel sanctions AT&T proposes is attached as Exhibit 2 to the Motion.

       Second, “[i]f [ESI] that should have been preserved in the anticipation or conduct of

litigation is lost because a party failed to take reasonable steps to preserve it,” the Court may



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order “measures no greater than necessary to cure the prejudice.” Fed. R. Civ. P. 37(e)(2). Mr.

Williams’ ESI is “lost” because he will not undertake simple measures to obtain it. Accordingly,

AT&T is entitled to an adverse inference, including a jury instruction, that the unproduced ESI is

unfavorable to Plaintiff.

    C. Mr. Williams is obstructing discovery by improperly refusing to respond to
       Interrogatory No. 11.

       AT&T is entitled to a response, under oath, setting out each false representation on which

Mr. Williams premises his claims, who made them, and where they are documented (if at all).

Fed. R. Civ. P. 33(a)(2) (interrogatories “may relate to any matter that may be inquired into

under Rule 26(b)”). Mr. Williams’ position that AT&T should attempt to extrapolate this

information from his Complaint allegations — which are sometimes particularized but

sometimes not4 — is inconsistent with federal authority. See, e.g., Cont'l Ill. Nat'l Bank & Trust

Co. of Chicago v. Caton, 136 F.R.D. 682, 688 (D. Colo. 1991) (“it appears counsel forgot that

discovery has to do with the discovery of facts and evidence, not allegations . . . [s]uch

[references to complaint allegations] are simply not appropriate.”) (emphasis in original); Flying

J. Inc. v. TA Operating Corp., No. 1:06-CV-30-TC, 2007 WL 1302756, at *1 (D. Utah May 2,

2007) (“[a] defendant must be allowed to require the accusing party to set forth, with

particularity, what he is accused of doing, not doing, or both”).

       The Court’s ruling that the Complaint met the minimum threshold to overcome a motion

to dismiss is irrelevant to Mr. Williams’ Rule 33 duty to disclose facts supporting his allegations.

See Caton, 136 F.R.D. at 688 (referencing complaint allegations in an interrogatory response

“amount[s] to nothing more than claims or allegations that the allegations are true”) (emphasis


4
 For example, Mr. Williams alleges after each SIM swap that AT&T told him his account was
safe from future incidents, but the Complaint does not explain what specifically was said to him,
who made these statements, or when exactly the statements were made. Compl. ¶ 170.


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in original). And Mr. Williams’ most recent argument that it is premature to answer Interrogatory

No. 11 until he receives more discovery from AT&T — beyond signaling his discovery efforts

are an improper fishing expedition — is simply not the law. See Flying J Inc., 2007 WL 1302756

at *1 (“If Plaintiffs do not have the necessary information to make a full, fair and specific answer

to an interrogatory, [they] should so state under oath.”) (quotation omitted, alteration in original).

                                          IV. Conclusion

       AT&T respectfully and affirmatively requests that the Court grant its motion to compel

and impose estoppel and adverse inference sanctions regarding Plaintiff’s ESI.5

       Respectfully submitted this the 15th day of March, 2021.

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5
 Mr. Williams’ obstructive discovery practices arguably warrant further sanctions. AT&T leaves
such matters to the Court’s sound discretion.


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                                CERTIFICATE OF SERVICE

       I hereby certify that on date set out below, I electronically filed the foregoing document

with the Clerk of Court using the CM/ECF system which will send notification of such filing to

the following:

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       This the 15th day of March, 2021.

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